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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: November 22, 2022.

                                                              __________________________________
                                                                        TONY M. DAVIS
                                                              UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                    WESTERN DISTRICT OF TEXAS AUSTIN DIVISION

  DEBORAH B. LANGEHENNIG                            Case No. 22-10477-TMD
  P.O. BOX 91419                                    Chapter 13
  AUSTIN, TX 78709

                                                       ORDER CONFIRMING THE PLAN

  IN RE:                                            DEBTORS' ATTORNEY:
  CARL JONES III                                    HEIMER LAW OFFICES PC
  ABIGAIL SUE JONES                                 6633 HIGHWAY 290 EAST
  1384 PRIVATE ROAD 3023                            SUITE 205
  ELGIN, TX 78621-6459                              AUSTIN, TX 78723
                                                    (512) 291-7105


                               ORDER CONFIRMING THE PLAN

  Having been considered by the Court, the Plan, or if applicable, the Amended Plan, filed by the
  Debtors on October 6, 2022 complies with all the provisions of Chapter 13 (11 U.S.C. 1301, et.
  seq.) and with all other applicable provisions of Title 11 of the United States Code; the Court
  concludes that the Plan should be confirmed, therefore,

  IT IS ORDERED THAT:

  1. The Plan is confirmed. The Debtors shall make payments for 60 months and the Plan base is
  $132,600.00. However, if the Plan calls for payment of 100% of the allowed unsecured claims, it
  shall continue for the lesser of the number of months called for in the Plan or the period of time
  necessary to pay the total amount of allowed claims provided for in the Plan.
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  2. The Debtors shall commence making payments not later than 30 days after filing of the Plan
  or the Order of Relief, whichever is earlier, and continuing each month thereafter until further
  order, the Debtors shall pay to the Trustee, Deborah B Langehennig, Chapter 13 Trustee, PO
  BOX 298, Memphis, TN 38101-0298 the sum of $2,210.00 monthly (or the variable payments,
  if applicable, noted below) or until $132,600.00 is paid into the Plan.


  Starting:   August 28, 2022                     $2,210.00 Number of Months: UNTIL END OF PLAN

  However, should the Debtors become more than sixty (60) days delinquent in making such Plan
  payments to the Trustee, this case may be dismissed without further notice upon the submission
  of an Order for Summary Dismissal by the Trustee. Further, this Order is without prejudice to
  the right of any party to request an employer pay order at a subsequent date.

  3. All of the disposable income of the Debtors shall be submitted to the payment of creditors of
  this estate from the beginning date of the first payment until the Plan may be terminated, and
  they will provide such information as may be requested by the Trustee to exhibit the disposable
  income.

  4. The Debtors have represented by requesting confirmation that, as of the date of the
  confirmation hearing, they are current on all post-petition direct payments. Confirmation will
  preclude any right the Debtors may otherwise have to later seek modification of the Plan to deal
  with any pre-confirmation defaults on direct payments.

  5. In addition, all secured creditors shall retain their liens to the extent they are not avoided or
  modified by specific Court Order.

  6. Notwithstanding 11 U.S.C. Section 347 Unclaimed Property, a claim previously allowed may
  be disallowed pursuant to 11 U.S.C. Sec. 502 for failure to maintain a current address with the
  United States Bankruptcy Clerk or negotiate Chapter 13 Trustee checks within the time limit
  specified on the check. Funds previously allocated by the Plan for such claims will be paid to
  other allowed claims pursuant to the Debtors' Plan.


  7. The Debtors' attorney is allowed a total attorney fee of $4,500.00 with $3,461.00 to be paid
  through the plan with an initial payment of $1,500.00 and subsequent monthly payments of
  $440.00.




  Annual Tax Returns
   The Debtors shall provide the Trustee with copies of federal income tax returns on an annual
   basis in this case. The tax return transcripts shall be provided to the Trustee by May 31st in
   the year they are due to be filed with the Internal Revenue Service. If the Debtors fail to
   timely provide the documents, the Trustee may submit an order of dismissal without further
   notice.
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  Confirmation Recommended By:
  /s/ Deborah B. Langehennig
  Deborah B. Langehennig
  P.O. Box 91419
  Austin, TX 78709
